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 1   ALIN D. CINTEAN (SBN240160)
     Attorney at Law
 2
     555 Capitol Mall Ste. 755
 3   Sacramento, CA 95814
     Phone (916)441-3500
 4   Alin@SacramentoDefenseAttorney.com
 5
     Attorney for Defendant
 6   MARCELLE BANAGA

 7                                UNITED STATES DISTRICT COURT
 8                              EASTERN DISTRICT OF CALIFORNIA
 9

10
                                                         CASE NO.: 2:15-CR-00235-TLN
11    UNITED STATES OF AMERICA,
12
             PLAINTIFF                                    STIPULATION AND [PROPOSED]
13                                                        ORDER PERMITTING TEMPORARY
                                                          TRAVEL
14

15
       MARCELLE BANAGA,
16                                                              JUDGE: HONORABLE
                                                                  ALLISON CLAIRE
17                     DEFENDANT
18

19
             Defendant Marcelle Banaga, currently on pre-trial release, seeks permission to travel
20
     from Romania, his country of residence, to Antalya, Turkey, on April 26th through May 4th,
21
     2019.
22
             Pre-trial Services Officer Steven Sheehan and Assistant United States Attorney Michael
23
     Beckwith have been notified of this request and have no objection to it.
24

25           ////
26           ////
27           ////

28                                              PAGE 1 OF 2
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 1          The itinerary concerning this request has been provided to Pre-trial Services.
 2

 3                                                       Respectfully Submitted,

 4

 5
            Signed: 4/10/19                                      /s/ Alin D. Cintean
 6                                                               Alin D. Cintean
 7
                                                                 Attorney at Law

 8

 9

10          Signed: 4/10/19                                      /s/ Michael Beckwith
                                                                 Michael Beckwith
11
                                                                 Assistant United States Attorney
12

13

14

15
                                            [Proposed] Order
16

17
                   Upon review and consideration of Defendant’s request and the agreement of the
18   parties, the Court GRANTS the request and permits Mr. Banaga to travel to Antalya, Turkey, on
19   April 26th through May 4th, 2019.
20

21          IT IS SO ORDERED.

22
            Dated: April 11, 2019
23

24

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28                                             PAGE 2 OF 2
